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                      EXHIBIT A
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15   Attorneys for Defendant
16   [Additional counsel appearing on signature page]
17                         UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19
20    Edwardo Munoz, individually and on
      behalf of all others similarly situated,     Case No. 2:18-cv-03893-RGK-AGR
21
                                Plaintiff,
22                                                 STIPULATION OF SETTLEMENT
            V.
23                                                      Judge: Hon. R. Gary Klausner
      7-Eleven, Inc., a Texas corporation,              Magistrate Judge: Hon. A. Rosenberg
24
                                Defendant.              Complaint Filed: May 9, 2018
25                                                      TrialTiate: July 2, 2019
26
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28                                               - 1-
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 1         This Stipulation of Settlement (the "Agreement" or "Settlement Agreement")
 2   is dated June 17, 2019 (irrespective of when signed for reference purposes), and is
 3   entered into by and among (i) Plaintiff Edwardo Munoz on behalf of himself and the
 4   Settlement Class (as defined below), and (ii) Defendant 7-Eleven, Inc. ("7-Eleven"
 5   or "Defendant"). This Agreement is intended by the Parties to fully, finally, and
 6   forever resolve with prejudice, discharge, and settle the Released Claims ( as defined
 7   below), as well as any and all other matters at issue, or potentially at issue, in this
 8   litigation, upon and subject to the terms and conditions of this Agreement and
 9   subject to the final approval of the Court having jurisdiction over the Parties and
10   these Released Claims.
11
                                           RECITALS
12
13         A.     On May 9, 2018, named plaintiff Edwardo Munoz filed a class action
14   complaint and jury demand in this Court in the above-captioned action on behalf of
15   himself and all others similarly situated against Defendant 7-Eleven, Inc.
16         B.     Following meet-and-confer efforts between the Parties, Plaintiff filed a
17   First Amended Complaint on July 9, 2018 ("FAC"), which is the operative complaint
18   in this matter. The FAC alleges that 7-Eleven violated the Fair Credit Reporting
19   Act's ("FCRA") "stand alone" and "clear and conspicuous" requirements of 15
20   U.S.C. § 1681 b(b )(2)(A)(i) with the background check disclosure and authorization
21   form ("Form") Plaintiff and the Class executed as part of their newhire paperwork.
22   The FAC sought damages and injunctive relief on behalf of a nationwide class.
23         C.     On October 19, 2018, the Court, the Honorable R. Gary Klausner
24   presiding, granted Plaintiffs Motion for Class Certification (dkt. 43).
25         D.     Prior to and following class certification, and throughout the case, the
26   Parties have engaged in motion practice, class certification, written and oral
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 1   discovery, and informal discovery regarding the size and scope of the Class and the
 2   underlying merits of the case.
 3            E.   On April 9, 2019, counsel for Plaintiff Munoz, 7-Eleven's corporate
 4   representative, and counsel for 7-Eleven engaged in a full-day mediation in Toronto,
 5   Ontario, Canada, with Michael Dickstein of Dickstein Dispute Resolution, a well-
 6   respected mediator, in an attempt to resolve the case.
 7            F.   Through the mediation process, the Parties conducted further informal
 8   discovery and exchanged additional information about the size and scope of the
 9   Class.
10            G.   Following extensive back-and-forth discussions and negotiations
11   facilitated by Mr. Dickstein, the Parties reached an agreement on the framework of
12   the proposed settlement and the relief to be made available to the Class upon Court
13   approval.
14            H.   Fallowing an agreement in principle with respect to the relief to be
15   afforded to the Class, the Parties negotiated an incentive award for the proposed
16   Class Representative and reasonable attorneys' fees for proposed Class Counsel.
17            I.   At all times, 7-Eleven has denied and continues to deny all wrongdoing
18   whatsoever and has denied and continues to deny that it committed, threatened, or
19   attempted to commit any wrongful act or violation of any law or duty alleged in the
20   Action, including but not limited to the FCRA. 7-Eleven also contends that it has
21   acted properly in all respects in connection with its procurement and use of
22   consumer reports/background checks for applicants and employees.
23            J.   7-Eleven also denies: (1) each and every claim and contention alleged;
24   (2) all charges of wrongdoing or liability against it or its agents arising out of any
25   conduct, statements, acts, or omissions alleged in the Action; and (3) that Plaintiff or
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 1 the Class are entitled to any form of damages or other relief based on the conduct
 2   alleged in the Action.
 3         K.      7-Eleven also maintains that it has strong, meritorious defenses to the
 4   claims alleged in the Action and that it was prepared to vigorously defend all aspects
 5   of the Action. Nonetheless, having conducted an investigation of the facts, analyzed
 6   the relevant legal issues, and taken into account the uncertainty and risks inherent in
 7   any litigation, 7-Eleven has concluded that further defense of the Action would be
 8   protracted, burdensome, and expensive and that as such, it is desirable and beneficial
 9   to fully and finally settle and resolve the Action in the manner and upon the terms
10   and conditions set forth in this Agreement.
11         L.      This Agreement therefore is a compromise of disputed rights and
12   remedies between the Parties, and the Parties acknowledge and agree it represents a
13   fair and reasonable resolution of disputes, claims, and defenses for all concerned.
14   This Agreement, any related documents, and any associated negotiations may not be
15   construed as, or deemed to be evidence of, or an admission or concession of, liability
16   or wrongdoing on the part of 7-Eleven or any of the Released Parties (defined
17   below) with respect to any claim of any fault, liability, wrongdoing, or damage
18   whatsoever.
19         M.      It is understood and agreed that this Agreement represents a full and
20   final resolution of all claims, at law or in equity, whether known or unknown, that
21   relate to, are based on, or arise out of the facts, allegations, claims, causes of action,
22   transaction or series of transactions, or damages alleged or that were or could have
23   been brought in the Action.
24         N.      Plaintiff Munoz believes that the claims asserted in the Action against 7-
25   Eleven on behalf of himself and the certified Class have merit and that he and the
26   Class would have ultimately been successful in prevailing on the merits.
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28                                               -4-
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 1   Nonetheless, Plaintiff Munoz and Class Counsel recognize and acknowledge that 7-
 2   Eleven has raised factual and legal defenses that present a risk that Plaintiff Munoz
 3   and the Class may not prevail. Plaintiff and Class Counsel have also taken into
 4   account the uncertain outcome and risks of any litigation, especially in complex
 5   actions, as well as the difficulties, delays, and expenses inherent in such litigation.
 6   Therefore, Plaintiff believes that it is desirable that the Released Claims be fully and
 7   finally compromised, settled and resolved, with prejudice, and be barred pursuant to
 8   the terms set forth in this Agreement.
 9          0.     Based on their evaluation, Class Counsel have concluded that the terms
10   and conditions of this Agreement are fair, reasonable, and adequate to the Class and
11   that it is in the best interests of the Class to settle the claims raised in the Action
12   pursuant to the terms and provisions of this Agreement.
13          P.     The Parties agree that the Action has been resolved in good faith, after
14   significant arm's-length bargaining, presided over by a neutral and respected
15   mediator, and that the settlement reflected in this Agreement confers substantial
16   benefits upon each of the Parties.
17          Q.     Accordingly, to avoid the costs of trial and the exigencies of continued
18   litigation and to settle and dispose of, fully and completely and forever, the Released
19   Claims and any and all claims and causes of action asserted in the Action, subject to
20   final approval of the Court after a fairness hearing or hearings as provided for below,
21   and that upon final approval of this Agreement by the Court and fulfillment of each
22   Party's obligations the Court will enter a final order dismissing this Action with
23   prejudice.
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 1                             SETTLEMENT AGREEMENT
 2
     1.    DEFINITIONS
 3
                  In addition to terms defined throughout this Agreement and in any
 4
     schedule or exhibits, the following terms shall have the meaning set forth below and
 5
     shall be deemed defined, for purposes of this Agreement only, as follows:
 6
           1.1    "Action" means this lawsuit, which is captioned Munoz v. 7-Eleven,
 7
     Inc., 2: 18-cv-03893-RGK-AGR (C.D. Cal.).
 8
           1.2    "Approved Claim" means a Claim that meets all requirements
 9
     expressly set forth in this Agreement and approved by the Settlement
10
     Administrator that also meets the following requirements: (a) the Claim is
11
     submitted on a timely basis in accordance with the directions on the Claim Form
12
     and the provisions of this Agreement, (b) the Claim is fully and truthfully
13
     completed and executed by a Class Member and provides all of the information
14
     requested on the Claim Form, (c) the Claim is signed by the Class Member,
15
     subject to the penalties of perjury, and (d) the Claim Form is verified by the
16
     Settlement Administrator as being on the Class List and not a duplicate or
17
     otherwise invalid claim, pursuant to Section 2 of this Agreement.
18
           1.3    "Claim" means a written claim on the approved "Claim Form"
19
     submitted by a Class Member to the Settlement Administrator requesting to
20
     participate in and receive a benefit under the terms of this Settlement Agreement.
21
           1.4    "Claimant Payments" mean the amounts due to each Class Member
22
     who timely files an Approved Claim equal to the Class Member's share of the Net
23
     Settlement Fund.
24
           1.5    "Claims Deadline" means the date by which all Claim Forms must
25
     be postmarked or received by the Settlement Administrator in order to be
26
     considered timely. The Claims Deadline shall be a date no later than fourteen (14)
27
28                                             -6-
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 1   days prior to the deadline for Class Counsel and Plaintiff to file a Motion for Final
 2   Approval. The Claims Deadline shall be clearly set forth in the Preliminary
 3   Approval Order and on the Notice and the Claim Form.
 4         1.6    "Claim Form" means the forms drafted by Class Counsel and
 5   Defendant, subject to the Court's approval, which, to recover a portion of the
 6   Settlement, each Class Member must complete in full, sign, and timely mail to the
 7   Settlement Administrator. The Claim Form will be mailed to each Class Member
 8   with the notice and will be made available in paper format upon request to the
 9   Settlement Administrator or to Class Counsel.
10         1. 7    "Class" or "Settlement Class" means all Persons who fall into the
11   definition of either class certified by the Court in its Order granting Class
12   Certification of October 18, 2018 (dkt. 43), which for convenience were defined as
13   follows:
14         Disclosure Class: All persons in the United States who (1) from a date [two
15         years] prior to the filing of this initial complaint in this action to the date
16         notice is sent to the Disclosure Class; (2) applied for employment with
17         Defendant; (3) about whom Defendant procured a consumer repot; and (4)
18         who were provided the same for FCRA disclosure and authorization as the
19         disclosure and authorization form that Defendant provided to Plaintiff.
20         California Subclass: All members of the Disclosure Class who reside in
21         California.
22         1.8    "Class Counsel" means Steven Woodrow and Patrick Peluso of
23   Woodrow & Peluso, LLC.
24         1.9    "Class List" means the list of Persons identified by 7-Eleven to be
25   provided to the Settlement Administrator who are members of the Class, which 7-
26   Eleven represents it used its best efforts to compile.
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28                                              -7-
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 1          1.10 "Class Member" or "Settlement Class Member" means a Person is
 2   a member of the Class (including the proposed Class Representative) who has not
 3   submitted a valid request for exclusion. 7-Eleven reasonably believes that the total
 4   estimated size of the Class is comprised of approximately 59,920 Persons.
 5          1.11 "Class Representative" or "Named Plaintiff' means Plaintiff
 6   Edwardo Munoz, subject to the approval of the Court.
 7          1.12 "Court" means the United States District Court for the Central
 8   District of California.
 9          1.13 "Cy Pres Designees" means the Education Fund of the National
10   Association of Consumer Advocates. Should the Court not approve the Education
11   Fund of the National Association of Consumer Advocates as a cy pres recipient,
12   the Cy Pres Recipient shall mean any other such organization that the Court deems
13   appropriate.
14          1.14 "Defendant" or "7-Eleven" means 7-Eleven, Inc.
15          1.15 "Defense Counsel" or "7-Eleven's Counsel" means defense
16   counsel, Julie Trotter, Delavan Dickson, and Kent Christensen of Call & Jensen.
17          1.16    "Effective Date" means one (1) business day after which all of the
18   events and conditions specified in Section 9 .1 have occurred or have been met.
19          1.17 "Fair Credit Reporting Act" or "FCRA" or "the Act" means and
20   refers to the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.
21          1.18 "Fee Award" means the amount of reasonable attorneys' fees and
22   reimbursement of expenses, if any, awarded by this or any other Court to Class
23   Counsel for their work pursuing this Action which Defendant will pay from the
24   Settlement Fund.
25         1.19 "Final" means one business day following the latest of the following
26   events: (i) the date upon which the time expires for filing or noticing any appeal of
27
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 1 the Court's Final Order approving this Settlement Agreement; (ii) if there is an
 2   appeal or appeals, other than an appeal or appeals solely with respect to the Fee
 3   Award, the date of completion, in a manner that finally affirms and leaves in place
 4   the Final Order without any material modification, of all proceedings arising out
 5   of the appeal or appeals (including, but not limited to, the expiration of all
 6   deadlines for motions for reconsideration or petitions for review or certiorari, all
 7   proceedings ordered on remand, and all proceedings arising out of any subsequent
 8   appeal or appeals following decisions on remand); or (iii) the date of final
 9   dismissal of any appeal or the final dismissal of any proceeding on certiorari.
10         1.20 "Final Approval Hearing" means the fairness hearing under Rule
11   23(e) during which the Parties will ask the Court to enter the Final Order
12   approving the Settlement Agreement, the incentive award to the Class
13   Representative, and the Fee Award, to be scheduled in the Preliminary Approval
14   Order and set forth in both the Short Form Notice and Long Form Notice.
15         1.21 "Final Approval Order and Judgment" means the order in which
16   the Court grants final approval of this Settlement Agreement, authorizes the entry
17   of a final judgment, and dismisses the Action with prejudice.
18         1.22    "Funding Date" means the date by which 7-Eleven must forward to
19   the Settlement Administrator by wire the sum of the balance remaining between
20   the Initial Deposit and the Settlement Fund. The Funding Date shall be no later
21   than fourteen (14) days following the date the Final Approval Order and Judgment
22   becomes Final.
23         1.23 "Incentive Award" means the amount, if any, approved by the Court
24   as a payment to the Class Representative in recognition of the Class
25   Representative's time, effort, and exposure on behalf of the Class Members.
26         1.24 "Judgment" means the Judgment entered to by the Court
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 1 incorporating the terms of this Settlement Agreement as approved in the Final
 2   Order.
 3            1.25 "Long Form Notice" means traditional "long form" notice to be
 4   made available on the Settlement Website, describing the terms of this Settlement
 5   Agreement and containing information on how to file a claim, opt-out of the
 6   Settlement Class, or object, and which will be made available in accordance with
 7   Section 4 of this Settlement Agreement, substantially in the form of Exhibit A
 8   hereto.
 9            1.26 "Nationwide" means the fifty (50) states of the United States of
10   America and its territories or possessions that are subject to the FCRA or any
11   claims asserted in the Action.
12            1.27 "Net Settlement Fund" defined and calculated as the total
13   Settlement Fund (one million nine hundred seventy two-thousand and five
14   hundred dollars, $1,972,500 USD) less the sum of all Settlement Administration
15   Costs, any Incentive Award to the Settlement Class Representative, and any Fee
16   Award as approved by the Court respectively).
17            1.28 "Notice Date" means the date by which direct-mail notice under the
18   Notice Plan set forth in Section 4 has been sent, which shall be a date no later than
19   twenty one (21) days after entry of the Preliminary Approval Order.
20            1.29 "Notice Plan" means the proposed plan developed by the Settlement
21   Administrator and approved by the Parties for disseminating notice to members of
22   the Class of the proposed Settlement Agreement and of the Final Approval
23   Hearing.
24            1.30 "Objection/Exclusion Deadline" means the date by which a written
25   objection to this Settlement Agreement or a request for exclusion by a Person
26   within the Class must be postmarked or filed with the Court, which shall be
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 1   designated as a date no earlier than forty-five (45) days after the Notice Date and
 2   at least fourteen (14) days after papers supporting the Fee Award are filed with the
 3   Court and made available on the Settlement Website.
 4         1.31     "Parties" or "Settling Parties" means Plaintiff Edwardo Munoz
 5   and Defendant 7-Eleven.
 6         1.32 "Person" means any individual or any entity including, without
 7   limitation, a corporation, partnership, limited partnership, limited liability
 8   partnership, limited liability company, association, joint stock company, estate,
 9   legal representative, trust, unincorporated association, and any other business or
10   legal entity and their respective predecessors, successors, representatives, and
11   assigns.
12         1.33 "Plaintiff'' means the Named Plaintiff Edwardo Munoz.
13         1.34 "Preliminary Approval" means the Court's preliminary approval of
14   the Settlement Agreement and approval of the form of the Notice and of the
15   Notice Plan.
16         1.35 "Preliminary Approval Order" means the Court's order
17   preliminarily approving the Settlement Agreement, confirming the prior
18   certification of the Class, and directing notice of the Settlement to the Class.
19         1.36 "Released Claims" means any and all actual, potential, filed, known
20   or unknown, fixed or contingent, claimed or unclaimed, suspected or unsuspected,
21   claims, demands, liabilities, rights, causes of action, contracts or agreements,
22   extra-contractual claims, punitive, treble, exemplary, statutory, or multiplied
23   damages, expenses, costs, attorneys' fees, fines, penalties, awards, interest
24   (including pre-judgment interest), and all other obligations, whether in law or in
25   equity, accrued or unaccrued, direct, individual or representative, of every nature
26   and description whatsoever, whether based on the FCRA or any other federal,
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 1   state, local, statutory or comm.on law or any other law, rule or regulation,
 2   including the law of any jurisdiction outside the United States (including both
 3   direct, vicarious, and derivative claims), and whether known or unknown, against
 4   the Released Parties or any of them. that relate to, are based on, could have been
 5   brought or arise out of the facts, allegations, claims, causes of action, transaction
 6   or series of transactions, or dam.ages alleged in the First Am.ended Com.plaint.
 7         1.37 "Released Parties" means Defendant 7-Eleven and all current and
 8   former, direct and indirect, parents, subsidiaries, brother-sister companies, and all
 9   other affiliates and related partnerships, joint ventures, or other entities, and, with
10   respect to each of them., their predecessors and successors; and, with respect to
11   each such entity, all of its past, present, and future employees, officers, directors,
12   stockholders, owners, insurers, representatives, assigns, attorneys, agents, insurers,
13   employee benefit programs (and the trustees, administrators, fiduciaries, and
14   insurers of such programs), and any other persons acting by, through, under or in
15   concert with any of the persons or entities listed in this section, and their
16   successors.
17         1.38 "Releasing Parties" means Plaintiff Munoz and those Class
18   Members who do not timely opt out of the Class (whether or not such Class
19   Members submit claims).
20         1.39 "Settlement Administration Expenses" means the expenses
21   incurred by the Settlement Administrator in providing Notice, maintaining the
22   Settlement Website, processing claims, mailing checks for Approved Claims, as
23   well as any costs incurred in sending the Class Action Fairness Act notices
24   described in Section 4.2(g) below. 7-Eleven will pay all Settlement Administration
25   Expenses incurred in connection with this Agreement.
26         1.40 "Settlement Administrator" means the third-party administrator
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 1   selected by the Parties and approved by the Court to oversee the distribution of
 2   Notice and to process and pay Approved Claims to the Class Members, in
 3   accordance with the terms and conditions set forth in this Agreement, and any
 4   other amounts to any other Persons required under this Agreement.
 5         1.41 "Settlement Agreement" "Settlement" or "Agreement" means this
 6   Agreement and the settlement contemplated hereunder.
 7         1.42 "Settlement Checks" mean the checks to be issued by the Settlement
 8   Administrator from the Settlement Fund in the amount of the Claimant Payments.
 9   Settlement Checks shall be issued no later than twenty one (21) days following the
10   Funding Date.
11         1.43 "Settlement Fund" means the total aggregate common fund that 7-
12   Eleven will be obligated to pay by operation of this Settlement Agreement if it
13   receives final approval from the Court and the Judgment becomes Final. The
14   Settlement Fund equals one-million, nine-hundred seventy-two thousand, five-
15   hundred dollars ($1,972,500 USD) and constitutes 7-Eleven's exclusive and total
16   payment obligation under this Settlement Agreement to settle the Action in full.
17   The Settlement Fund will be used to pay: (a) the Settlement Checks to Settlement
18   Class Members who submit Approved Claims; (b) any Fee Award; (c) any
19   Incentive Award approved by the Court; and (d) all Settlement Administration
20   Costs. The Settlement Fund represents the total extent of 7-Eleven's monetary
21   obligations under this Agreement. The Settlement Fund shall be maintained in an
22   interest-bearing account if possible at a bank chosen by the Settlement
23   Administrator ("the Settlement Bank Account"). The Settlement Administrator
24   shall establish the Settlement Bank Account at a bank that is insured by the
25   Federal Deposit Insurance Corporation and that has total assets of at least five-
26   hundred million dollars ($500,000,000 USD) and a short-term deposit rating of at
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28                                            - 13 -
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 1   least P-1 (Moody's) or A-1 (Standard & Poor's). Any costs associated with
 2   opening and/or maintaining the bank account to hold the Settlement Fund shall be
 3   deducted from the Settlement Fund. The Settlement Administrator shall be
 4   responsible for all tax filings with respect to any earnings on the Settlement Fund
 5   and the payment of all taxes that may be due on such earnings.
 6         1.44 "Settlement Website" means the Internet website to be established,
 7   administered and maintained by the Settlement Administrator as set forth in
 8   Section 4 of this Settlement Agreement which shall contain the Long Form
 9   Notice, important dates and deadlines, and key Settlement documents and orders.
10   The Settlement Website will also allow Settlement Class Members to file Claim
11   Forms electronically.
12         1.45   "Short Form Notice" means the notice of this proposed Class
13   Action Settlement and Final Approval Hearing, which will be delivered via direct-
14   mail notice to the Class Members in substantially the manner set forth in this
15   Agreement, consistent with the requirements of due process and Rule 23, as
16   expressly provided in this Agreement and as substantially in the form attached as
17   Exhibit B.
18   2.    CLASS BENEFITS
19         2.1    Payments to Settlement Class Members. No later than the Funding
20   Date, 7-Eleven shall deposit into the Settlement Bank Account the Settlement Fund.
21   7-Eleven shall have no payment obligations under this Settlement other than the
22   Settlement Fund. In the event that this Settlement Agreement terminates or is not
23   approved, any advances paid to the Settlement Administrator by 7-Eleven that have
24   not been spent, and are not required for amounts that are due and payable for
25   reasonable and identified notice and administration costs already incurred, shall,
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27
28                                            - 14 -
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 1   within ten (10) business days, be returned by the Settlement Administrator to 7-
 2   Eleven by payment to an account designated by 7-Eleven.
 3                a)     To facilitate the notice and claims administration process, 7-
 4   Eleven and its counsel will provide to the Settlement Administrator, in an
 5   electronically searchable and readable format, the Class List. Any information on the
 6   Class List shall be provided solely for the purpose of providing notice to the Class
 7   and informing them about their rights further to this Settlement, shall be kept in strict
 8   confidence and, subject to a Stipulated Protective Order, shall not be disclosed to any
 9   third party other than the parties to this Agreement and their counsel if necessary to
10   effectuate the terms of the Agreement or the administration process, shall be used for
11   no other cases, and shall be used for no other purpose.
12                b)     Subject to the terms and conditions of this Agreement, Class
13   Members shall qualify for payment from the Settlement Fund if they submit a Claim
14   Form before the Claims Deadline that is an Approved Claim and they are on the
15   Class List. Only one claim per person shall be permitted.
16                c)     Each Class Member who submits an Approved Claim shall be
17   eligible to receive one (1) Claimant Payment of equal value, which is to be
18   determined by dividing the Net Settlement Fund by the total number of Approved
19   Claims. However, in no event shall any Class Member receive a Claimant Payment
20   greater than five-hundred fifty dollars ($550), which shall be the maximum payout.
21   If the $550 cap is triggered, any remaining funds from the Net Settlement Fund shall
22   be distributed evenly among the Cy Pres designees approved by the Court.
23                d)     Settlement Checks for the Claimant Payments shall be valid for
24   ninety (90) days after issuance. Settlement Checks shall be issued to Class members
25   who filed Approved Claims within twenty-one (21) days of the Funding Date. Any
26   funds associated with Settlement Checks not cashed by Settlement Class Members
27
28                                             - 15 -
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 1   within that time will remain in the Settlement Fund unless such Settlement Check is
 2   returned as undeliverable to the Settlement Administrator within the 90-day period
 3   after issuance ("Returned Settlement Checks"). With respect to Returned Settlement
 4   Checks, the Settlement Administrator will make one ( 1) reasonable attempt at re-
 5   mailing to the address on file or to any updated address determined by using the
 6   national change of address registry. Re-mailed checks shall be valid for ninety (90)
 7   days after issuance of the re-mailing.
 8                  e)     Any amounts remaining in the Settlement Fund after payment of
 9   all Claimant Payments, Settlement Administration Costs, Fee A ward and Incentive
10   A ward will be paid to the Cy Pres Recipients, as approved by the Court.
11                  f)     Notwithstanding any judgment, principle, or statute, there shall
12   be no interest accrued, owing, or paid by 7-Eleven on the Claimant Payments, or on
13   the Settlement Fund, or on any other benefit available (or potentially available)
14   under this Agreement.
15          2.2     Prospective Relief. The Parties and Settlement Class agree that the
16   language below satisfies the requirements of 15 U.S.C. § 168lb(b)(2)(A)(i), which
17   is the content in 7-Eleven's current background check disclosure form:
18
                   CONSUMER REPORT DISCLOSURE AND AUTHORIZATION
19
20   7-Eleven, Inc. may obtain, where permitted, one or more "consumer reports" as that term is defined
     in the Fair Credit Reporting Act ("FCRA") to use for employment purposes in connection with your
21   employment, or your application for employment (i.e., for the purpose of considering you for
     employment) with 7-Eleven, Inc. Consumer reports may contain information concerning your
22   criminal history, driving history, education history, employment history, records of military service,
     and other background information where permissible by law.
23
24   By affixing your electronic signature below, you authorize 7-Eleven, Inc. to obtain, where permitted,
     one or more consumer reports in connection with your employment or application for employment
25   with 7-Eleven, Inc.

26
     First Name:
27
28                                                   - 16 -
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     Full Middle Name:
 1   Last Name:
 2   Address:
     Email Address:
 3   Date of Birth:
     Social Security Number:
 4
     This is an electronic signature and is given in accordance with U.S. federal regulations governing the
 5   legal and binding effectiveness of electronic signatures. By providing this electronic signature, you
 6   are acknowledging that you have carefully read this notice and authorization fonn, and understand
     it.
 7
 8
            2.3     Payments Not Wages. The Parties agree that payments under this
 9
     Agreement do not constitute wages, these payments are not subject to FICA or
10
     other withholding, and each Settlement Class Member who is eligible for and
11
     receives a payment under this Agreement will be solely responsible for payment
12
     of any taxes on the amount received.
13
     3.     RELEASES
14
           3.1      Released Claims. The obligations incurred under this Settlement
15
     Agreement shall constitute a full and final disposition, settlement, and dismissal of
16
     the Action and of any and all Released Claims by the Releasing Parties against all
17
     Released Parties and each of them.
18
           3.2      Release. Upon the Effective Date, the Releasing Parties and each of
19
     them, jointly and severally, shall be deemed to have, and by operation of the Final
20
     Order, shall have fully, finally, and forever released, relinquished, waived, and
21
     discharged with prejudice all Released Claims against the Released Parties and
22
     each of them.
23
           3.3      All Claims, Known and Unknown, Extinguished. In addition, upon
24
     the Effective Date the Class Representative, on behalf of himself and his present,
25
     former, and future heirs, executors, administrators, representatives, agents,
26
     attorneys, partners, successors, predecessors-in-interest, and assigns of each of
27
28                                                   - 17 -
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 1   them, shall be deemed to have released any and all claims, known or unknown,
 2   against 7-Eleven and the Released Parties that were or could have been brought
 3   against 7-Eleven and the Released Parties either in the Action or in any separate
 4   proceeding in any court of competent jurisdiction. 7-Eleven shall be able to raise a
 5   defense in any subsequent action alleging Released Claims that payments to any
 6   Person based on an Approved Claim operates as an accord and satisfaction and a
 7   release and waiver as to any claims such Persons may otherwise have arising
 8   from, or which could have been asserted in, the Action.
 9         3.4     California Section 1542. For the Released Claims, each Settlement
10   Class Member who applied for or worked in the State of California waives all
11   rights and benefits afforded by California Code Section 1542 and does so with full
12   understanding of the significance of that waiver. Section 1542 states: "A general
13   release does not extend to claims that the creditor or releasing party does not
14   know or suspect to exist in his or her favor at the time of executing the
15   release and that, if known by him or her, would have materially affected his
16   or her settlement with the debtor or released party." The Class Representative
17   and Settlement Class Members acknowledge that they may discover facts in
18   addition to or different from those that they now know or believe to be true with
19   respect to the subject matter of this release, but that it is their intention to finally
20   and forever settle and release the Released Claims, notwithstanding any unknown
21   claims they may have, as that term is defined in this Agreement.
22   4.     NOTICE, EXCLUSIONS & OBJECTIONS
23          4.1    Notice Plan
24                 a)     The Parties agree to provide the best notice that is practicable
25   under the circumstances, including individual notice to Persons in the Class who
26   may be identified through reasonable efforts.
27
28                                               - 18 -
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 1                b)     7-Eleven shall, within fourteen (14) days of entry of the
 2   Preliminary Approval Order, provide the Settlement Administrator with the Class
 3   List. The Settlement Administrator shall use the Class List to take all steps
 4   reasonably necessary, including reverse phone look-ups of the phone numbers, to
 5   identify the owner of the numbers in the Class List at the relevant time together
 6   with such Persons' last known mailing address and email address, where
 7   available. After identifying mailing addresses through this process, the Settlement
 8   Administrator shall, by using the National Change of Address ("NCOA") database
 9   maintained by the United States Postal Service ("Postal Service"), obtain updated
10   m9-iling addresses, if available.
11                c)     Within thirty (30) days following entry of the Preliminary
12   Approval Order, the Settlement Administrator shall send the Short Form Notice to
13   each Class Member via first class mail for those Class Members for whom a
14   mailing address has been obtained. Wherever an email address has been located,
15   the Settlement Administrator will also email the Short Form Notice, in a form
16   appropriate for email, to the email address. Neither the Parties nor the Settlement
17   Class Administrator shall have any obligation to mail or email the Short Form
18   Notice to any Settlement Class Member for whom no mailing address or email
19   address could be located following the process set forth in 4.3.b above. If and to
20   the extent deemed necessary by the Settlement Administrator, the last known
21   address of Persons in the Class will be subject to confirmation or updating as
22   follows: (i) the Settlement Administrator may conduct a reasonable search to
23   locate an updated address for any Person in the Class whose Short Form Notice is
24   returned as undeliverable; (ii) the Settlement Administrator shall update addresses
25   based on any forwarding information received from the United States Post Office;
26   and (iii) the Settlement Administrator shall update addresses based on information
27
28                                            - 19 -
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 1   it receives and through any requests received from Persons in the Class.
 2                d)    If any Short Form Notice sent under this Section is returned by
 3   the Postal Service as undeliverable, the Settlement Administrator shall re-mail the
 4   Short Form Notice once to the forwarding address, if any, provided by the Postal
 5   Service on the face of the returned mail. Otherwise, the Settlement Administrator
 6   shall attempt to send notice via email. Other than as set forth in this paragraph,
 7   neither the Parties nor the Settlement Administrator shall have any other
 8   obligation to re-mail the Short Form Notice.
 9                e)     The Settlement Administrator shall have discretion to format
10   the Short Form Notice and Claim Form in a reasonable manner to minimize
11   mailing or administrative costs. Before the Short Form Notices are mailed, Class
12   Counsel and Counsel for Defendant shall first be provided with a proof copy of
13   any and all notices (including what the items will look like in their final form), and
14   shall have the right to inspect the same for compliance with the Settlement
15   Agreement and with any orders by the Court.
16                f)     No later than twenty-one (21) days following the entry of the
17   Preliminary Approval Order, the Settlement Administrator shall cause the Long
18   Form Notice, a downloadable Claim Form that may be printed and mailed to the
19   Settlement Administrator, an electronic version of the Claim Form that may be
20   completed and submitted electronically, this Settlement Agreement and Exhibits,
21   the FAC, the Preliminary Approval Order, and any other relevant documents to be
22   made available on a dedicated Settlement Website, the website name/URL for
23   which is to be agreed upon by the Parties, to be administered by the Settlement
24   Administrator. When available, the Settlement Administrator shall make available
25   on the Settlement Website Class Counsel's application for a Fee Award and any
26   motion seeking approval of any Incentive Award as well as the Final Approval
27
28                                             - 20 -
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 1 Order. Any other content proposed to be included or displayed on the Settlement
 2   Website shall be approved in advance by Class Counsel and Defendant's Counsel.
 3   Such approvals shall not be unreasonably withheld.
 4                g)    Within thirty (30) days after entry of the Preliminary Approval
 5   Order, the Settlement Administrator shall set up a toll-free telephone number that
 6   will provide automated information about the settlement, the Class Members'
 7   rights, important deadlines, and instructions as to how Class Members may
 8   request and obtain hard-copy settlement documents. That telephone number shall
 9   be maintained until the Claims Deadline. After that time, and through the date the
10   Final Approval Order is entered, a recording will advise any caller to the toll free
11   telephone number that the Claims Deadline has passed and that details regarding
12   the settlement may be reviewed on the Settlement Website.
13                h)     7-Eleven and the Settlement Administrator shall be responsible
14   for timely compliance with any notice required by the Class Action Fairness Act
15   ("CAF A"), 28 U.S.C. § 1715. 7-Eleven shall provide proof of such compliance by
16   filing a confirmation declaration with the Court at least fourteen (14) days prior to
17   the Final Approval Hearing.
18                i)     Claim Forms shall be returned or submitted to the Settlement
19   Administrator via U.S. Mail or via submission through the Settlement Website, by
20   the Claims Deadline or be forever barred.
21         4.2    Right to Opt Out, Comment, or Object. The Notice shall advise the
22   Class Members of their rights, including the right to be excluded from, comment
23   upon, or object to the Settlement Agreement or its terms and conditions. The
24   Notice shall specify that: (i) any objection to the Settlement Agreement and any
25   papers submitted in support of an objection shall be considered by the Court at the
26   Final Approval Hearing only if, on or before the Objection/Exclusion Deadline
27
28                                            - 21 -
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 1   approved by the Court and specified in the Notice, the Person making an objection
 2   files notice of his or her intention to do so and at the same time files copies of such
 3   papers he or she proposes to submit at the Final Approval Hearing with the Clerk
 4   of the Court and sends copies of such papers by mail, hand, or overnight delivery
 5   service to Class Counsel and 7-Eleven's Counsel, and (ii) that any objection made
 6   by a Class Member represented by counsel must be filed through the Court's
 7   CM/ECF system.
 8         4.3    Objections. Any member of the Class who intends to object to this
 9   Agreement must include in the objection his/her name and address; include all
10   arguments, citations, and evidence supporting the objection (including copies of
11   any documents relied on); state that he or she is a Class Member; and provide a
12   statement indicating whether the objector intends to appear at the Final Approval
13   Hearing and, if so, whether the appearance will be with or without counsel. Any
14   Class Member who fails to timely file a written objection with the Court and
15   notice of his or her intent to appear at the Final Approval Hearing in accordance
16   with the terms of this section and as detailed in this Notice, and at the same time
17   provide copies to designated counsel for the Parties, shall not be permitted to
18   object to this Agreement at the Final Approval Hearing, and shall be foreclosed
19   from seeking any review of this Agreement by appeal or other means and shall be
20   deemed to have waived his, her, or its objections and be forever barred from
21   making any such objections in the Action or any other action or proceeding. To be
22   valid, the objection must be filed with the Court and delivered or postmarked and
23   sent via mail to Class Counsel and 7-Eleven's Counsel on or before the
24   Objection/Exclusion Deadline approved by the Court and specified in the Short
25   Form and Long Form Notice.
26         4.4    Exclusion. A member of the Class may request to be excluded from
27
28                                             -22 -
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 1   the Class in writing by a request postmarked on or before the Objection/Exclusion
 2   Deadline approved by the Court and specified on the Notice. To exercise the right
 3   to be excluded, a member of the Class must timely send a written request for
 4   exclusion to the Settlement Administrator providing his/her name and address, the
 5   name and number of the case, and a statement that such Person intends to be
 6   excluded from the Settlement. A request to be excluded that does not include all of
 7   this information, that is sent to an address other than that designated in the Notice,
 8   or that is not postmarked within the time specified shall be invalid, and the
 9   Person(s) serving such a request shall be a member(s) of the Class and shall be
10   bound as Class Members by the Agreement, if approved. Any Class Member who
11   elects to be excluded shall not: (i) be bound by any orders of the Final Order; (ii)
12   be entitled to relief under this Settlement Agreement; (iii) gain any rights by virtue
13   of this Agreement; or (iv) be entitled to object to any aspect of this Agreement.
14   The request for exclusion must be personally signed by the Person requesting
15   exclusion. So-called "mass" or "class" opt-outs shall not be allowed.
16         4.5    Settlement Administration Costs are payable from the Settlement
17   Fund, as approved by the Court.
18         4.6    Binding Settlement. Any Class Member who does not, in
19   accordance with the terms and conditions of this Agreement, seek timely
20   exclusion from the Class or timely file an Approved Claim shall be deemed a
21   Class Member bound by this Agreement, but shall not be entitled to receive any
22   cash award or any other benefits pursuant to this Agreement but will otherwise be
23   bound together with all respective Class Members by all of the terms of this
24   Agreement, including the terms of the Final Order to be entered in the Action and
25   Releases provided for in the Agreement, and will thus be barred from bringing any
26   action against any of the Released Parties concerning the Released Claims.
27
28                                             - 23 -
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 1   5.    SETTLEMENT ADMINISTRATION
 2         5.1    Claims Process. The Settlement Administrator shall, under the
 3   Court's supervision, administer the relief provided by this Settlement Agreement
 4   by processing Claim Forms in a rational, responsive, cost-effective, and timely
 5   manner. The Settlement Administrator shall maintain reasonably detailed records
 6   of its activities under this Agreement. The Settlement Administrator shall ensure
 7   that all such records will be made available for inspection and copying to Class
 8   Counsel and 7-Eleven's Counsel upon request. The Settlement Administrator shall
 9   also provide reports and other information to the Court as the Court may require.
10   The Settlement Administrator shall provide Class Counsel and 7-Eleven's Counsel
11   with information concerning the Notice as well as the administration and
12   implementation of the Settlement Agreement. Should the Court request, the
13   Parties, in conjunction with the Settlement Administrator, shall submit a timely
14   report to the Court summarizing the work performed by the Settlement
15   Administrator, including a report of all amounts from the Settlement Fund paid to
16   Settlement Class Members on account of Approved Claims. Without limiting the
17   foregoing, the Settlement Administrator shall:
18                a)      Forward to 7-Eleven's Counsel and Class Counsel, all
19   original (or suitable copies of) documents and other materials received in
20   connection with the administration of the Settlement, within fifteen (15) days after
21   the date on which all Claim Forms have been finally approved or disallowed in
22   accordance with the terms of this Agreement;
23                b)      Receive requests to be excluded from the Class and other
24   requests from Class Members and promptly provide to Class Counsel and 7-
25   Eleven's Counsel copies upon receipt. If the Settlement Administrator receives
26   any requests for exclusion or other requests from Class Members after the
27
28                                            - 24 -
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 1   deadline for the submission of such forms and requests, the Settlement
 2   Administrator shall promptly provide copies thereof to Class Counsel and 7-
 3   Eleven's Counsel.
 4                c)      Provide weekly or other periodic reports to Class Counsel
 5   and 7-Eleven's Counsel, including without limitation, reports regarding the
 6   number of Claim Forms received and the amount of the payments sought, the
 7   number approved by the Settlement Administrator, and the categorization and
 8   description of Claim Forms rejected, in whole or in part, by the Settlement
 9   Administrator; and
10                d)      Make available for inspection and copying by Class Counsel
11   and/or 7-Eleven' s Counsel, the Claim Forms and any supporting documentation
12   received by the Settlement Administrator at any time upon reasonable notice.
13         5.2   Valid Claim Forms. The Settlement Administrator shall reject a
14   Claim Form, or any part of a Claim for a payment with due regard for 7-Eleven
15   records to verify the submissions of any claim presented, including without
16   limitation, where the name provided on the Claim Form does not appear on the
17   Class List or cannot be validated as having been considered for employment by 7-
18   Eleven. In addition, the Settlement Administrator shall be obliged to employ
19   reasonable procedures to screen claims for abuse or fraud and deny Claim Forms
20   where there is evidence of abuse or fraud. The Settlement Administrator shall
21   determine whether a Claim Form submitted by a Class Member is an Approved
22   Claim and shall reject Claim Forms that fail to comply with the instructions or the
23   terms of this Agreement, after giving the claimant a reasonable opportunity to
24   provide any requested missing information, but in no event shall any Class
25   Member have more than thirty (30) days after being noticed by the Settlement
26   Administrator of any question or deficiency in the submitted Claim Form to
27
28                                           - 25 -
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 1   answer the question or cure such deficiency.
 2         5.3    Challenges to Validity of Claim Form. Both Class Counsel and 7-
 3   Eleven, either individually or jointly, shall have the right to challenge the
 4   acceptance or rejection of a Claim Form submitted by a Class Member. The
 5   Settlement Administrator shall be bound by any agreed decisions of Class Counsel
 6   and 7-Eleven's Counsel as to the validity of any disputed Claim Form. To the
 7   extent Class Counsel and 7-Eleven are not able to agree on the disposition of a
 8   challenge, the Parties shall present such challenges to the mediator, Michael
 9   Dickstein, for binding, non-appealable decision as to such challenge, subject to
10   any confidentiality provisions as necessary to assure the privacy of the person
11   whose claim is challenged.
12         5.4    Administrator's Request for Information. In the exercise of its
13   duties outlined in this Agreement, the Settlement Administrator shall have the
14   right to reasonably request additional information from the Parties or any Class
15   Member.
16          5.5   Fairness Hearing. The Final Approval Hearing shall be no earlier
17   than forty-five (45) days after the Notice described in Section 4.1 is provided or
18   such other time as the Court shall set.
19          5.6   Confidentiality of Information. The Settlement Administrator and
20   the Parties each agree to keep all information received under Section 5 of this
21   Agreement-including the Class List and all personal information of the Class
22   obtained therefrom-confidential and may use it only for purposes of effectuating
23   this Agreement.
24   6.    TERMINATION OR RESCISSION OF SETTLEMENT
25          6.1   Termination Events. Subject to Section 9 below, the Class
26   Representative, on behalf of the Class, or Defendant and each or any of them, shall
27
28                                             - 26 -
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 1   have the right to terminate this Agreement by providing written notice of the
 2   election to do so ("Termination Notice") to all other Parties within ten (10)
 3   business days of any of the following events: (i) the Court's refusal to grant
 4   Preliminary Approval of this Agreement in any material respect, including without
 5   limitation the Court's refusal to approve the reversion of monies remaining in the
 6   Settlement Fund to 7-Eleven; (ii) the Court's refusal to grant final approval of this
 7   Agreement in any material respect; (iii) the Court's refusal to enter the Final Order
 8   in this Action in any material respect; (iv) the date upon which the Final Order is
 9   modified or reversed in any material respect by the Court of Appeals or the
10   Supreme Court; or (v) the date upon which the Alternate Order, as defined in
11   Section 9 .1 ( d) of this Agreement, is modified or reversed in any material respect
12   by the Court of Appeals or the Supreme Court.
13         6.2    Termination or Rescission by Defendant. Notwithstanding any
14   other provision contained herein to the contrary, Defendant shall have the right,
15   but not the obligation, to terminate and rescind this Agreement if over five ( 5)
16   percent of the Class files valid requests for exclusion from this Agreement. To
17   exercise this right, Defendant must provide written notice to Plaintiff no later than
18   fourteen (14) days following the Objection/Exclusion Deadline. If Defendant
19   terminates or rescinds this Agreement, then the Defendant's obligations under the
20   Agreement will cease to have any force and effect, the Agreement will be vacated,
21   canceled, and annulled, and the Parties will return to the status quo ante as if they
22   had not entered into the settlement. In addition, the settlement and all negotiations
23   and proceedings related to the settlement will be without prejudice of the rights of
24   the Parties, and evidence of the settlement, negotiations, and proceedings will be
25   inadmissible and will not be discoverable.
26
27
28                                             - 27 -
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 1 ·7.     PRELIMINARY APPROVAL ORDER AND FINAL APPROVAL
           ORDER
 2
           7.1    Motion for Preliminary Approval. Promptly after the execution of
 3
     this Settlement Agreement, Class Counsel shall submit this Agreement together
 4
     with its Exhibits to the Court and shall move the Court for Preliminary Approval
 5
     of the settlement set forth in this Agreement and entry of a Preliminary Approval
 6
     Order, which order shall set a Final Approval Hearing date, the
 7
     Objection/Exclusion deadline, the Claims Deadline, and approve the Notice and
 8
     Claim Form for dissemination in accordance with the Notice Plan, substantially in
 9
     the forms attached as Exhibits B and C.
10
           7.2    Final Approval Hearing. At the time of the submission of this
11
     Agreement to the Court as described above, Class Counsel shall request that, after
12
     Notice is given, the Court hold a Final Approval Hearing and approve the
13
     settlement of the Action as set forth in this Agreement.
14
           7.3    Final Approval Order. After Notice is given, Class Counsel shall
15
     request from the Court a Final Order. The Final Order will (among other things):
16
                  a)      find that the Court has personal jurisdiction over all Class
17
     Members and that the Court has subject matter jurisdiction to approve the
18
     Agreement, including all attached exhibits;
19
                  b)      approve the Agreement and the proposed settlement as fair,
20
     reasonable and adequate as to, and in the best interests of, the Class Members;
21
     direct the Parties and their counsel to implement and consummate the Agreement
22
     according to its terms and provisions; and declare the Agreement to be binding on
23
     all pending and future lawsuits or other proceedings maintained by or on behalf of
24
     Plaintiffs and the Releasing Parties;
25
                  c)      find that the Notice and the Notice Plan implemented
26
     pursuant to the Agreement (i) constitute the best practicable notice under the
27
28                                             - 28 -
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 1   circumstances; (ii) constitute notice that is reasonably calculated, under the
 2   circumstances, to apprise the Class of the pendency of the Action, their right to
 3   object or exclude themselves from the proposed Agreement, and to appear at the
 4   Final Approval Hearing; (iii) are reasonable and constitute due, adequate, and
 5   sufficient notice to all persons entitled to receive notice; and (iv) meet all
 6   applicable requirements of the Federal Rules of Civil Procedure, the Due Process
 7   Clause of the United States Constitution, and the rules of the Court;
 8                d)       find that the Class Representative and Class Counsel
 9   adequately represented the Class for purposes of entering into and implementing
10   the Agreement;
11                e)       dismiss this Action (including all individual claims and class
12   action claims presented thereby) on the merits and with prejudice, without fees or
13   costs to any party except as provided in the Settlement Agreement;
14                f)       incorporate the Release set forth above, make the Release
15   effective as of the Effective Date, and forever discharge the Released Parties as set
16   forth in this Agreement;
17                g)       permanently bar and enjoin all Class Members who have not
18   been properly excluded from the Class from filing, commencing, prosecuting,
19   intervening in, or participating (as class members or otherwise) in, any lawsuit or
20   other action in any jurisdiction based on the Released Claims;
21                h)       authorize the Parties, without further approval from the
22   Court, to agree to and adopt such amendments, modifications and expansions of
23   the Settlement Agreement and its implementing documents (including all exhibits
24   to this Agreement) as (i) shall be consistent in all material respects with the Final
25   Order, or (ii) do not limit the rights of Class Members; and without affecting the
26   finality of the Final Order for purposes of appeal, retain jurisdiction as to all
27
28                                              - 29 -
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 1   matters relating to administration, consummation, enforcement, and interpretation
 2   of the Settlement Agreement and the Final Order, and for any other necessary
 3   purpose; and
 4                  i)     incorporate any other provisions, as the Court deems
 5   necessary and just.
 6
     8.    ATTORNEYS' FEES AND REIMBURSEMENT OF EXPENSES AND
 7         CLASS REPRESENTATIVE INCENTIVE AWARD.
 8         8.1    Attorneys' Fees and Costs. No later than fourteen (14) days before
 9   the Objection Deadline, Class Counsel may make written application to the Court
10   for a Fee Award not to exceed, in the aggregate, one-third (33.33%) of the
11   Settlement Fund. The Parties agree that the Court ( and only the Court) shall
12   determine the final amount of the Fee Award in this Action. Any Fee Award shall
13   be paid out of the Settlement Fund.
14         8.2      Payment of Fees and Costs. Class Counsel shall, within seven (7)
15   days following the Funding Date, be paid the amount of attorneys' fees and
16   expenses approved by the Court. Any payment of the Fee A ward from the
17   Settlement Fund shall be paid by the Settlement Administrator via electronic
18   transfer to an account designated by Class Counsel providing necessary
19   information to the Settlement Administrator. Class Counsel agree and represent
20   that in no event shall Defendant collectively pay or be obligated to pay in excess
21   of the Fee Award determined by the Court for Class Counsel's attorneys' fees and
22   expenses.
23         8.3      Incentive Award for Class Representative. In addition to any
24   Approved Claim payment to which he may be entitled to under the Settlement
25   Agreement, and provided that he does so qualify for an Approved Claim, in
26   recognition of his efforts on behalf of the Class, the Class Representative shall,
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28                                            - 30 -
      STIPULATION OF SETTLEMENT
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 1   subject to the approval of the Court, be awarded an incentive award in the
 2   aggregate amount to be determined by the Court upon written application to the
 3   Court made no later than fourteen (14) days before the Objection Deadline. 7-
 4   Eleven agrees that an incentive award of $5,000 is reasonable and that it shall not
 5   oppose such award, directly or indirectly. This sum shall be paid in recognition of
 6   the Plaintiffs time, exposure, and effort serving as the Class Representative in this
 7   litigation. The Settlement Administrator shall pay said amount via check from the
 8   Settlement Fund to the Class Representative, such check to be sent care of Class
 9   Counsel, within seven (7) days after the Funding Date.
10   9.    CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,
11         CANCELLATION, OR TERMINATION
12         9.1    Effective Date of Settlement. The Effective Date of this Settlement
13   Agreement shall not occur unless and until each of the following events occurs
14   and shall be the date upon which the last (in time) of the following events occurs:
15                a)    This Agreement has been signed by Class Counsel, the Named
16   Plaintiff, 7-Eleven and 7-Eleven's Counsel;
17                b)    The Court has entered the Preliminary Approval Order;
18                c)    The Court has entered an order finally approving the
19   Agreement, following notice to the Class and a Final Approval Hearing, as
20   provided in the Federal Rules of Civil Procedure, and has entered the Final Order,
21   or an order substantially consistent with this Agreement; and
22                d)    The Final Order has become Final, as defined above, or, in the
23   event that the Court enters a final order in a form other than that provided above
24   ("Alternate Order") and that has the consent of the Parties, such Alternate Order
25   becomes Final.
26         9.2    Failure of Effective Date. If some or all of the conditions specified
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28                                            - 31 -
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 1   in Section 9 .1 are not met, or in the event that this Agreement is not approved by
 2   the Court, or the settlement set forth in this Agreement is terminated or fails to
 3   become effective in accordance with its terms, then this Agreement shall be
 4   canceled and terminated subject to Section 9.3 unless the Plaintiff and Defendant
 5   mutually agree in writing to proceed with the Agreement. If any party to this
 6   Agreement is in material breach of the terms of this Agreement, any other party,
 7   provided that it is in substantial compliance with the terms of the Agreement, may
 8   terminate this Agreement on notice to all of the Settling Parties. Notwithstanding
 9   anything in this Agreement, the Parties agree that the Court's failure to approve, in
10   whole or in part, the attorneys' fees payment to Class Counsel set forth in Section
11   8.1 and 8.2 above shall not prevent the Agreement from becoming effective, nor
12   shall it be grounds for termination.
13         9.3    Status Quo Ante. If this Agreement is terminated or fails to become
14   effective for the reasons set forth in Sections 6.1, 6.2, 9.1 or 9.2 above, the Parties
15   shall be restored to their respective positions in the Action as of the date of the
16   signing of this Agreement with all claims or their defenses fully preserved. In such
17   event, any Final Order or other order entered by the Court in accordance with the
18   terms of this Agreement shall be treated as vacated, nunc pro tune, and the Parties
19   shall be returned to the status quo ante with respect to the Action as if they had
20   never entered into this Agreement, subject to reasonable extensions of time as to
21   any deadlines.
22         9.4    No Admission of Liability. Nothing in this Agreement or in any
23   other document related to this Settlement will be construed as or deemed an
24   admission of liability, culpability, negligence, reckless disregard, or wrongdoing
25   on the part of Defendant. Likewise, nothing in this Agreement or in any other
26   document related to this Settlement will be construed as or deemed an admission
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28                                             -32-
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 1 regarding the infirmity of any claim or legal argument or theory on the part of
 2   Plaintiff. Each of the Parties has entered into this Agreement with the intention of
 3   avoiding further disputes and litigation and the attendant inconvenience, expense,
 4   and unpredictability.
 5         10.    MISCELLANEOUS PROVISIONS
 6         10.1 Good Faith Efforts. The Parties: (i) acknowledge that it is their
 7   intent to consummate this Settlement Agreement; and (ii) agree, subject to their
 8   ethical, fiduciary, and legal obligations, to cooperate to the extent reasonably
 9   necessary to effectuate and implement all terms and conditions of this Agreement
10   and to exercise their reasonable best efforts to accomplish the foregoing terms and
11   conditions of this Agreement. The Parties, Class Counsel, and 7-Eleven's Counsel
12   all agree to cooperate with one another in seeking Court approval of the
13   Preliminary Approval order, the Settlement Agreement, and the Final Order, and
14   promptly to agree upon and execute all such other documentation as may be
15   reasonably required to obtain final approval of the Agreement.
16         10.2 All Disputes Resolved. The Parties intend this Settlement Agreement
17   to be a final and complete resolution of all disputes between them with respect to
18   the Released Claims by the Releasing Parties and each or any of them, on the one
19   hand, against the Released Parties, and each or any of them, on the other hand.
20   Accordingly, the Parties agree not to assert in any forum that the Action was
21   brought by Plaintiff or defended by Defendant, or each or any of them, in bad faith
22   or without a reasonable basis.
23         10.3 Advice of Counsel. The Parties have relied upon the advice and
24   representation of counsel, selected by them, concerning their respective legal
25   liability for the claims hereby released. The Parties have read and understand fully
26   this Agreement and have been fully advised as to the legal effect thereof by
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28                                             - 33 -
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 1   counsel of their own selection and intend to be legally bound by the same.
 2         10.4 No Admission or Concessions. Whether or not the Effective Date
 3   occurs or the Settlement Agreement is terminated, neither this Agreement nor the
 4   settlement contained in this Agreement, nor any act performed or document
 5   executed pursuant to or in furtherance of this Agreement or the settlement:
 6                a)      is, may be deemed, or shall be used, offered or received
 7   against the Released Parties, or each or any of them, as an admission, concession,
 8   or evidence of, the validity of any Released Claims, the truth of any fact alleged by
 9   the Plaintiffs, the deficiency of any defense that has been or could have been
10   asserted in the Action, the violation of any law or statute, the reasonableness of the
11   settlement amount or the fee award, or of any alleged wrongdoing, liability,
12   negligence or fault of the Released Parties, or any of them;
13                b)      is, may be deemed, or shall be used, offered, or received
14   against the Settlement Class as an admission, concession, or evidence of any fault,
15   misrepresentation, or omission with respect to any statement or written document
16   approved or made by the Released Parties, or any of them;
17                c)      is, may be deemed, or shall be used, offered, or received
18   against the Released Parties, or each or any of them, as an admission or concession
19   with respect to any liability, negligence, fault or wrongdoing as against any
20   Released Parties, in any civil, criminal, or administrative proceeding in any court,
21   administrative agency, or other tribunal. However, the settlement, this Agreement,
22   and any acts performed or documents executed in furtherance of or pursuant to this
23   Agreement or Settlement may be used in any proceedings as may be necessary to
24   enforce the provisions of this Agreement. If this Settlement Agreement is approved
25   by the Court, any of the Parties or any of the Released Parties may file this
26   Agreement or the Final Order in any action that may be brought against such Party
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28                                            - 34 -
      STIPULATION OF SETTLEMENT
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 1   or Parties in order to support a defense or counterclaim based on principles of res
 2 judicata, collateral estoppel, waiver, release, accord and satisfaction, good faith
 3   settlement, judgment bar or reduction, or any other theory of claim preclusion or
 4   issue preclusion or similar defense or counterclaim;
 5                d)      is, may be deemed, or shall be construed against Plaintiffs, the
 6   Settlement Class or each or any of them, or against the Released Parties, or each or
 7   any of them, as an admission or concession that the consideration to be given
 8   hereunder represents an amount equal to, less than, or greater than that amount that
 9   could have or would have been recovered after trial; and
10                e)      is, may be deemed, or shall be construed as or received in
11   evidence as an admission or concession against Plaintiffs, the Settlement Class, or
12   each and any of them, or against the Released Parties, or each or any of them, that
13   any of Plaintiffs' claims are with or without merit or that damages recoverable in
14   the Action would have exceeded or would have been less than any particular
15   amount.
16         10.5 Headings/Captions. The headings used in this Agreement are used
17   for the purpose of convenience only and are not meant to have legal effect.
18         10.6 Waiver. The waiver by one Party of any breach of this Agreement by
19   any other Party shall not be deemed as a waiver of any other prior or subsequent
20   breaches of this Agreement. The Parties agree that this Agreement may not be
21   waived except by a writing signed by the Class Representative and a duly-
22   authorized representative of Defendant.
23         10. 7 Recitals and Exhibits. All the Recitals and Exhibits to this
24   Agreement are material and integral parts of it and are fully incorporated into this
25   Agreement by this reference.
26         10.8 Entire Agreement. This Agreement and its Exhibits set forth the
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28                                             - 35 -
     STIPULATION OF SETTLEMENT
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 1   entire agreement and understanding of the Parties with respect to the matter set
 2   forth herein, and supersede all prior negotiations, agreements, arrangements, and
 3   undertakings with respect to the matters set forth herein. No representations,
 4   warranties, or inducements have been made to any Party concerning this
 5   Settlement Agreement or its Exhibits other than the representations, warranties,
 6   and covenants contained and memorialized in such documents. This Agreement
 7   may be amended or modified only by a written instrument signed by or on behalf
 8   of each of the Parties and their duly-authorized representatives or their respective
 9   successors-in-interest.
10         10.9 Defendants' Fees and Costs. Defendant shall bear its own attorneys'
11   fees and costs.
12         10.10 No Assignments. All Parties represent and warrant that they have not
13   assigned any claim or right or interest therein as against the Released Parties to
14   any other Person or Party and that they are fully entitled to release the same.
15         10.11 Authorized Signatures. Each counsel or other Person executing this
16   Settlement Agreement, any of its Exhibits, or any related settlement documents on
17   behalf of any Party to this Agreement warrants and represents that such Person has
18   the full authority to do so and has the authority to take appropriate action required
19   or permitted to be taken pursuant to the Agreement to effectuate its terms.
20         10.12 Counterparts Same as Original. This Agreement may be executed
21   in one or more counterparts. All executed counterparts and each of them shall be
22   deemed to be one and the same instrument provided that counsel for the Parties to
23   this Agreement all exchange original signed counterparts. A complete set of
24   original executed counterparts shall be filed with the Court if the Court so
25   requests.
26         10.13 Successors and Assigns. This Settlement Agreement shall be binding
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28                                            -36-
      STIPULATION OF SETTLEMENT
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 1   on, and inure to the benefit of, the successors and assigns of the Parties to this
 2   Agreement and the Released Parties. The Parties represent, covenant, and warrant
 3   that they have not directly or indirectly assigned, transferred, encumbered, or
 4   purported to do so to any person or entity any portion of any liability, claim.,
 5   demand, action, cause of action, or rights released and discharged as set forth in
 6   this Agreement.
 7         10.14 Jurisdiction Over Agreement. This Court shall retain jurisdiction
 8   with respect to irnplernentation and enforcement of the terms of this Agreement,
 9   and all Parties to this Agreement submit to the jurisdiction of the Court for
10   purposes of irnplernenting and enforcing the settlement em.bodied in this
11   Agreement.
12         10.15 Stay of Proceedings Pending Preliminary and Final Approval.
13   All proceedings in the Action shall be stayed and abated following entry of the
14   Preliminary Approval Order, except as rnay be necessary to irnplernent the
15   Settlement Agreement or corn.ply with the terms of the Settlement. Pending
16   determination of whether the Settlement Agreement should be granted final
17   approval, the Parties in the Action agree not to pursue any claims or defenses
18   otherwise available to them..
19         10.16 No Admissions or Concessions. Whether or not the Settlement
20   Agreement is signed or otherwise approved or if this Settlement Agreement is
21   terminated, neither this Settlement Agreement not the settlement contained herein,
22   nor any act performed or document executed pursuant to or in furtherance of this
23   Agreement or the settlement rnay be deemed, or shall be used, offered or received
24   against the Released Parties, or each or any of them., as an admission, concession
25   or evidence of, the validity of any Released Claims, the truth of any fact alleged
26   by the Plaintiff, the deficiency of any defense that has been or could have been
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28                                             - 37 -
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 1   asserted in the Action, the violation of any law or statute, the reasonableness of the
 2   settlement amount or the fee award, or of any alleged wrongdoing, liability,
 3   negligence, or fault of the Released Parties, or any of them. Additionally, neither
 4   the Settlement, nor any act performed or document executed pursuant to or in
 5   furtherance of the Settlement, is or may be deemed a waiver of 7-Eleven's right to
 6   challenge the Court's prior grant of class certification if this Settlement for any
 7   reason does not become Final.
 8         10.17 Applicable Law. This Settlement Agreement shall be governed by
 9   and construed in accordance with the laws of the State of California.
10         10.18 Arms-Length Negotiations. This Agreement is deemed to have been
11   prepared by counsel for all Parties, as a result of arm's-length negotiations among
12   the Parties with the aid of a neutral mediator. Whereas all Parties have contributed
13   substantially and materially to the preparation of this Agreement, it shall not be
14   construed more strictly against one Party than another.
15         10.19 Notice to Parties and Counsel. Where this Agreement requires
16   notice to the Parties, such notice shall be sent to the undersigned counsel by email
17   to their designated accounts in the Action, certified mail in care of the United
18   States Postal Service (USPS) or by overnight mail in care of the USPS or such
19   recognized commercial carrier as Federal Express, UPS or the like with proof of
20   delivery:
21         (a)    For Plaintiff & the Class: Steven L. Woodrow, Patrick H. Peluso,
22         Woodrow & Peluso, LLC, 3900 East Mexico Avenue, Suite 300, Denver,
23         Colorado 80210, swoodrow@woodrowpeluso.com,
24         ppeluso@woodrowpeluso.com; and
25         (b)    For 7-Eleven: Julie R. Trotter, Delavan J. Dickson, and Kent R.
26         Christensen CALL & JENSEN, 610 Newport Center Drive, Suite 700,
27
28                                             -38-
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Case 2:18-cv-03893-RGK-AGR Document 90-1 Filed 07/29/19 Page 40 of 55 Page ID
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 1        Newport Beach, California 92660, jtrotter@calljensen.com,
 2        ddisckson@callj ensen. com, kchristrensen@calljensen.com
 3
 4                         [SIGNATURE PAGE FOLLOWS]

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                           For Plaintiff and the Class
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 9                         For Defendant
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     STIPULATION OF SETTLEMENT


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     1                          Approv ed as to form by counsel for the Parties:

     2                          WOOD ROW & fl LUSO, LLC
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                         EXHIBIT A
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             UNITED STATES DISTRICT COURT FOR THE
        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
If 7-Eleven, Inc. (“7-Eleven”) Obtained a Background Check in Regard to Your
     Actual or Prospective Employment, You Could Get a Payment from a
                             Class Action Settlement

        A Federal Court authorized this notice. This is not a solicitation from a lawyer.

    •      A Settlement has been reached in a class action lawsuit about whether 7-Eleven used
           a disclosure form when it obtained background checks about its applicants and
           employees that complied with the Fair Credit Reporting Act, 15 U.S.C. § 1681b et
           seq. (“FCRA”) and whether 7-Eleven provided other notices required by the FCRA.

    •      Persons included in the Settlement who file valid Claim Forms will be eligible to
           receive a payment from the Settlement Fund up to five-hundred fifty dollars ($550).
           The actual amount of the payments will be based on the number of valid claim forms
           submitted, administrative costs, and any incentive award or attorney’s fees and
           expenses approved by the Court.

    •      Please read this notice carefully. Your legal rights are affected whether you act, or
           don’t act.


             YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

SUBMIT A CLAIM FORM                 This is the only way to receive a payment.

EXCLUDE YOURSELF                    You will receive no benefits, but you will retain any rights you
                                    currently have to sue the Defendant about the claims in this
                                    case.

OBJECT                              Write to the Court explaining why you don’t like the
                                    Settlement.

GO TO THE HEARING                   Ask to speak in Court about your opinion of the Settlement.

DO NOTHING                          You won’t get a share of the Settlement benefits but still give
                                    up your rights to sue the Defendant about the claims in this case.


  These rights and options – and the deadlines to exercise them – are explained in this Notice

                                 BASIC INFORMATION



  CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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  1. Why was this Notice issued?

A Court authorized this notice because you have a right to know about the proposed Settlement of this
class action lawsuit and about all of your options, before the Court decides whether to give final approval
to the Settlement. This Notice explains the lawsuit, the Settlement, and your legal rights.

Judge R. Gary Klausner of the U.S. District Court for the Central District of California is overseeing this
case. The case is known as Edwardo Munoz v. 7-Eleven, Inc., Case No. 2:18-cv-03893-RGK-AGR. Mr.
Munoz, the person who sued, is called the Plaintiff/Class Representative. The Defendant is 7-Eleven.

  2. What is a Class Action?

In a class action, one or more named plaintiffs called Class Representatives (in this case, Edwardo Munoz)
sues on behalf of a group or a “class” of people who have similar claims. In a class action, the court
resolves the issues for all Class Members, except for those who exclude themselves from the Class.

  3. What is this Lawsuit about?

This lawsuit alleges that 7-Eleven violated the Fair Credit Reporting Act, 15 U.S.C. § 1681b et seq.
(“FCRA”) by not using a “standalone” disclosure and authorization that notified applicants and employees
that it might obtain background checks in regard to their employment. 7-Eleven denies that it violated any
law and maintains that it could have asserted several defenses.

The Court has not determined who is right. Rather, the Parties have agreed to settle the lawsuit to avoid
the uncertainties and expenses associated with ongoing litigation.

  4. Why is there a Settlement?

The Court has not decided whether the Plaintiff or the Defendant should win this case. Instead, both sides
agreed to a Settlement. That way, they avoid the uncertainties and expenses associated with ongoing
litigation, and Class Members will get compensation now rather than, if at all, years from now.

                            WHO’S INCLUDED IN THE SETTLEMENT?

  5. How do I know if I am in the Settlement Class?

The Court in this case certified a class and subclass on October 18, 2018 (dkt. 43), defined as follows:

       Disclosure Class: All persons in the United States who (1) from a date [two years] prior to the
       filing of this initial complaint in this action to the date notice is sent to the Disclosure Class;
       (2) applied for employment with Defendant; (3) about whom Defendant procured a consumer
       repot; and (4) who were provided the same form FCRA disclosure and authorization as the
       disclosure and authorization form that Defendant provided to Plaintiff.




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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       California Subclass: All members of the Disclosure Class who reside in California.

                                    THE SETTLEMENT BENEFITS

  6. What does the Settlement provide?

7-Eleven has agreed to fund a Settlement Fund of $1,972,500 U.S. dollars. The cost to send notice to the
class and administer the Settlement, as well as attorneys’ fees and payments to the Class Representatives,
will come out of this amount (see Question 13). The amount remaining after deducting these costs (the
"Net Settlement Fund") will be used to pay the claims of eligible Class Members who submit valid claims.

Persons who file valid claims and who are part of this class according to 7-Eleven's records will be eligible
to receive One (1) Claimant Payment of equal value from the Net Settlement Fund.

  7. How much will my payment be?

If you are member of the Class and the Court gives final approval to the Settlement, you may be entitled
to receive a check for an amount equal to the value of the One (1) Claimant Payment. The amount of your
exact payment cannot be calculated at this time. Your payment will depend on the total number of valid
claims that are filed, the cost of the Notice, and any incentive award to the Class Representatives and
award of attorneys' fees to Class Counsel. The Class is estimated to include approximately 59,920 persons.

  8. When will I get my payment?

You should receive a check from the settlement administrator within 60-90 days after the Settlement has
been finally approved and/or after any appeals have been resolved in favor of the Settlement. The hearing
to consider the final fairness of the Settlement is scheduled for [Fairness Hearing Date.] All checks will
expire and become void 90 days after they are issued.

                                       HOW TO GET BENEFITS

  9. How do I get benefits?

If you are a Class Member and you want to participate in the Settlement, you must complete and submit
a Claim Form, under penalty of perjury, by [CLAIMS DEADLINE]. The Claim form is included with
this notice and can be found by calling, toll free, 1-800-000-0000 or by contacting Class Counsel at (720)
213-0676. The Claim Form can be submitted online at the Settlement Website or downloaded and
submitted by mail.

                                 REMAINING IN THE SETTLEMENT
  10. What am I giving up if I stay in the Class?

If the Settlement becomes final, you will give up your right to sue 7-Eleven for the claims being resolved
by this Settlement. The specific claims you are giving up against 7-Eleven are described in Section 1.36
of the Settlement Agreement. You will be “releasing” the Defendant and all related people as described



     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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in Section 1.37 of the Settlement Agreement. Unless you exclude yourself (see Questions 14 & 15), you
are “releasing” the claims, regardless of whether you submit a claim form or not. The Settlement
Agreement is available at www.[settlementwebsite].com.

The Settlement Agreement describes the released claims with specific descriptions, so read it carefully. If
you have any questions you can talk to Class Counsel listed in Questions 12 and 17 for free or you can,
of course, talk to your own lawyer if you have questions about what this means.

   11. What happens if I do nothing at all?

If you do nothing, you won’t get any benefits from this Settlement. But, unless you exclude yourself, you
won’t be able to start a lawsuit or be part of any other lawsuit against the Defendant for the claims being
resolved by this Settlement.

                               THE LAWYERS REPRESENTING YOU

   12. Do I have a lawyer in the case?

The Court has appointed Steven L. Woodrow, Patrick H. Peluso, and Taylor T. Smith of Woodrow &
Peluso, LLC, to be the attorneys representing the Settlement Class. They are called “Class Counsel.” Class
Counsel believes, after conducting an extensive investigation, that the Settlement Agreement is fair,
reasonable, and in the best interests of the Class and Subclass. You will not be charged for these lawyers.
If you want to be represented by your own lawyer in this case, you may hire one at your expense. You
may also enter an appearance though an attorney if you so desire.

   13. How will the lawyers be paid?

The Settlement Agreement allows Class Counsel to submit a petition for reasonable attorneys' fees of up
to ______________ of the Settlement Fund as fees and expenses for investigating the facts, litigating the
case, and negotiating the Settlement in this matter. Class Counsel may seek, and the Court may award
less, than this amount. Under the Settlement Agreement, any amount awarded to Class Counsel will be
paid out of the Settlement Fund.

Subject to approval by the Court, Defendant has agreed to pay an incentive award to the Class
Representative from the Settlement Fund for his service in helping to litigate and settle this case.

                        EXCLUDING YOURSELF FROM THE SETTLEMENT

   14. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send a letter (or request for exclusion) by mail stating
that you want to be excluded from Edwardo Munoz v. 7-Eleven, Inc. Case No. 2:18-cv-03893-RGK-AGR.
Your letter or request for exclusion must also include your name, your address, the phone number that
received the relevant telephone calls, and your signature. You must mail your exclusion request so that it
is postmarked no later than [Objection/Opt Out Deadline] to:




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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Edwardo Munoz v. 7-Eleven, Inc.
Case No. 2:18-cv-03893-RGK-AGR
[Address Line 1]
[Address Line 2]
[TOLL FREE NUMBER]

The Court will exclude from the Class or Subclass any Class or Subclass Member who timely requests
exclusion from the Class or Subclass.

  15. If I don’t exclude myself, can I sue the Defendant for the same thing later?

No. Unless you exclude yourself, you give up any right to sue 7-Eleven for the claims being resolved by
this Settlement.

  16. If I exclude myself, can I get anything from this Settlement?

No. If you exclude yourself, do not submit a Claim Form to ask for benefits.

                                OBJECTING TO THE SETTLEMENT

   17. How do I object to the Settlement?

If you’re a Class or Subclass Member, you can object to the Settlement if you don’t like any part of it.
You can give reasons why you think the Court should not approve it. The Court will consider your
views. To object, you must send a letter stating that you object to the Settlement in Edwardo Munoz v. 7-
Eleven, Inc. Case No. 2:18-cv-03893-RGK-AGR, identify all your reasons for your objections
(including citations and supporting evidence), and attach any materials you rely on for your objections.
Your letter or brief must also include your name, your address, and your signature.

Class Counsel will file with the Court and post on the Settlement Website under the "Important
Documents" tab, its request for attorneys’ fees two weeks prior to the objection deadline.

If you want to appear and speak at the Final Approval Hearing to object to the Settlement, with or without
a lawyer (explained below in answer to Question Number 21), you must say so in your letter or brief. Mail
the objection to these three places postmarked no later than Month 00, 2019:

      Court                          Class Counsel                        Defense Counsel

  The Honorable R.              Steven Woodrow                       Julie R. Trotter
  Gary Klausner                 swoodrow@woodrowpeluso.com           jtrotter@calljensen.com
  c/o Clerk of the Court        Woodrow & Peluso, LLC                CALL & JENSEN
                                                                     610 Newport Center Drive
  Roybal Federal Building       3900 East Mexico Ave.                Suite 700
  and U.S. Courthouse,          Ste. 300                             Newport Beach, CA 92660
  255 East Temple Street        Denver, CO 80210                     949-717-3000
  Los Angeles, CA 90012         (720) 213-0675




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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   18. What’s the difference between objecting and excluding myself from the Settlement?

Objecting simply means telling the Court that you don’t like something about the Settlement. You can
object only if you stay in the Class. Excluding yourself from the Class is telling the Court that you don’t
want to be part of the Class. If you exclude yourself, you have no basis to object because the case no
longer affects you.

                           THE COURT’S FINAL APPROVAL HEARING

   19. When and where will the Court decide whether to approve the Settlement?

The Court will hold the Fairness Hearing at [time] on Month 00, 2019 at the [insert where]. The purpose
of the hearing will be for the Court to determine whether to approve the Settlement as fair, reasonable,
adequate, and in the best interests of the Class; to consider the Class Counsel's request for an award of
attorneys’ fees and expenses; and to consider the request for an incentive award to Class Representative.
At that hearing, the Court will be available to hear any objections and arguments concerning the fairness
of the Settlement.

The hearing may be postponed to a different date or time without notice, so it is a good idea to check with
Class Counsel by calling [insert phone #]. If, however, you timely object to the Settlement and advise the
Court that you intend to appear and speak at the Fairness Hearing, you will receive notice of any change
in the date of such Fairness Hearing.

   20. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have. But you are welcome to come at your
own expense. If you send an objection or comment, you don’t have to come to Court to talk about it. As
long as you mailed your written objection on time, the Court will consider it. You may also pay another
lawyer to attend, but it’s not required.

   21. May I speak at the hearing?

Yes. You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must send a
letter saying that it is your “Notice of Intent to Appear in Edwardo Munoz v. 7-Eleven Case No. 2:18-cv-
03893-RGK-AGR” It must include your name, address, telephone number and signature as well as the
name and address of your lawyer, if one is appearing for you. Your Notice of Intent to Appear must be
postmarked no later than Month 00, 2019, and be sent to the addresses listed in Question 17. You must
also state in your objection that you plan on appearing at the hearing.

                                  GETTING MORE INFORMATION

   22. Where do I get more information?




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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This Notice summarizes the Settlement. More details are in the full Settlement Agreement. You can
get a copy of the Settlement Agreement by writing the Settlement Administrator at P.O. Box 0000,
City, ST 00000 or by visiting www.[settlementwebsite].com. You can call the Settlement
Administrator at 1-800-000-0000 or Class Counsel at 1-720-213-0676, if you have any questions.
Before doing so, however, please read this full Notice carefully.




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
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                         EXHIBIT B
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                                         Edwardo Munoz v. 7-Eleven, Inc. Case
                                         No. 2:18-cv-03893-RGK-AGR
                                         [Settlement Administrator]
                                         [Address Line 1]
                                         [Address Line 2]
                                         [Address Line 3]




                                               |||||||||||||||||||||||||||||||||
                                               Postal Service: Please do not mark barcode

                                               ABC-1234567-8

                                               First Last
                                               Address1
                                               Address2
                                               City, State, Zip Code
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Summary Notice
You are receiving this notice because you have been identified as a settlement class member
in Edwardo Munoz v. 7-Eleven, Inc. 2:18-cv-03893-RGK-AGR, pending in the U.S. District
Court for the Central District of California. The Court has preliminarily approved a settlement
that could impact your legal rights, whether you act or not. This is only a summary of the Full
Notice. Visit www.[website].com to read the Full Notice, submit a Claim Form, and view
important court dates and documents

Nature of the Action. This lawsuit alleges that 7-Eleven obtained background checks
regarding applicants and employees in violation of the Fair Credit Reporting Act, 15 U.S.C.       To request exclusion, submit your signed statement
§ 1681b, et. seq. The Class Representative claims that 7-Eleven obtained the background           that says “I wish to be excluded from Edwardo Munoz
checks unlawfully insofar as it didn’t provide a standalone disclosure and authorization as       v. 7-Eleven, Inc.
required by the Act prior to procuring the background check report. 7-Eleven denies that it       Case 2:18-cv-03893-RGK-AGR to:
violated any laws and asserts several defenses. The Court has not determined who is right.
Rather, you are receiving this legal notice because your rights may be impacted by the
settlement regardless of whether you file a claim.                                                Epiq Systems
                                                                                                  Edwardo Munoz v. 7-Eleven, Inc.
How Do I Know if I am a Class Member? You fall into the definition of the Settlement              Case No. 2:18-cv-03893-RGK-AGR
Class if you applied to work at 7-Eleven from _____________ to ________________ and
had 7-Eleven obtained a background check regarding your employment.                               [Address Line 1]
                                                                                                  [Address Line 2]
What are My Options? You may submit a Claim Form to be paid your share of the Net                 [TOLL FREE NUMBER]
Settlement Fund (equal to the Settlement Fund of $_______________ less all approved
Settlement Administration Expenses, and any Incentive Awards and the Fee Award to Class           For all other inquiries, contact Class Counsel at:
Counsel). You can discuss the case with Class Counsel. You may also enter an appearance
though an attorney if you so desire. You may also request to be excluded, and the Court will       Edwardo Munoz v. 7-Eleven, Inc.
exclude any member who timely requests exclusion. To request exclusion, you must mail a            Case 2:18-cv-03893-RGK-AGR
signed statement that says “I wish to be excluded from Edwardo Munoz v. 7-Eleven, Inc.             Class Counsel
Case No. 17-cv-11630-NGE” to the Settlement Administrator, postmarked by [opt-
out/objection deadline]. Specific information is available at www.website.com. If you do           Woodrow & Peluso, LLC
nothing you will be in the Class and you will also be bound by all orders and judgments of         3900 East Mexico Ave., Ste. 300
the Court entered under Rule 23(c)(3); however, you will NOT receive a share of the Net            Denver, CO 80210
Settlement Fund. You MUST file a Claim Form to receive a payment. If you request                   (720) 213-0676 swoodrow@woodrowpeluso.com
exclusion, you will not be able to participate in the settlement.

Who Represents Me? The Court has appointed Steven L. Woodrow, Patrick H. Peluso, and
Taylor T. Smith of Woodrow & Peluso, LLC to be the attorneys for the Class. These attorneys
are referred to as Class Counsel. You may hire your own lawyer at your own expense.

  w Do I Get More Information? For more information about the proposed settlement
and a copy of the full Notice and Claim Form, go to www.[website].com, contact the
Administrator at [toll free #] or [Address] or call Class Counsel at 720-213-0676.
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                         EXHIBIT C
            Case 2:18-cv-03893-RGK-AGR Document 90-1 Filed 07/29/19 Page 55 of 55 Page ID
                            Munoz v. 7-Eleven, Inc. FCRA  Settlement CLAIM FORM
                                                     #:1119

                                Edwardo Munoz v. 7-Eleven, Inc., Case No. 2:18-cv-03893-RGK-AGR

       Return this Claim Form to: [Settlement Administrator], [address]. Questions, visit www.[SettlementWebsite].com or call (_________________
   DEADLINE: THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE], BE
 FULLY COMPLETED, BE SIGNED UNDER OATH, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
Instructions: If you applied for work at 7-Eleven, Inc. (“7-Eleven” or “Defendant”) and had a background check obtained regarding your employment, you
may be entitled to a monetary payment if the settlement is finally approved by the Court. If the settlement is approved, each class member, whether or not he
or she submits a claim, will release the Defendant and related entities, and all their officers, agents, employees, and those working with them, from any and all
claims as a result of the background check disclosures that are the subject of this litigation. Only one claim per applicant or employee is allowed, regardless of
how many notices were received/viewed or the number of background checks procured.

     Claimants who are part of this class will receive one (1) Claim Payment from the Net Settlement Fund, which equals $1,972,500 less all Settlement
      Administration Expenses, and any approved Incentive Award and Fee Award. Claim Payments will be of equal value and will not exceed $550.

                              YOU MUST SUBMIT THIS CLAIM FORM TO RECEIVE A SETTLEMENT PAYMENT.

Please note that if you are a Class Member, the Class Member Verification section below requires you to state, under penalty of perjury, that all information
                                                          contained herein is true and correct.

                                                  Call Class Counsel at 720.213.0676 for Further Information

                                                       YOUR CONTACT INFORMATION

    Name: _______________________________                    ________        _________________________________
                              (First)                          (Middle)                           (Last)

    Current Address: ________________________________________________________________________
    (You must provide a street address. A P.O. box will not be accepted.)
    _______________________________________                        ____ ____        ____ ____ ____ ____ ____
    (City)                                                           (State)               (Zip Code)

    Current Phone Number: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___
    (Please provide a phone number where you can be reached if further information is required.)

                                                          Class Member Verification
    By submitting this claim form and checking the boxes below, I declare under penalty of perjury that I applied for work at a 7-Eleven, Inc.
    corporate location and had a background check procured in regards to my potential or actual employment.
                            ************************************************************************
                                 Additional information regarding the settlement can be found at [website.com].

    The Claims Administrator may audit any and all claims. I declare under penalty of perjury that the foregoing is true and correct.

    Signature: _________________________________                                  Date: _____________________________________

                                                                                  Your claim will be reviewed by the Settlement Administrator. If
    Print Name: ________________________________                                  accepted you will be mailed a check for your share of the Settlement
                                                                                  based on the Units for which you are eligible. Please be patient.

CLAIM FORMS MUST BE POSTMARKED NO LATER THAN [Claims Deadline] TO BE ELIGIBLE FOR PAYMENT. MAIL THIS CLAIM
FORM TO: Claims Administrator, [Address]. If you have questions, you may call the Settlement Administrator at [toll-free #] or Class Counsel at
1 720-213-0676.
